      Case 1:04-cv-03531-LTS-SLC Document 495 Filed 03/03/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ADVANCED ANALYTICS, INC.,

                               Plaintiff,

         -v-
                                                        CIVIL ACTION NO.: 04 Civ. 3531 (LTS) (SLC)

                                                                             ORDER
CITIGROUP GLOBAL MARKETS, INC., et al.,

                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

         On February 2, 2022, the Court issued an Order to Show Cause concerning the failure to

comply with Court Orders by Plaintiff Advanced Analytics, Inc. (“AAI”), and its then-counsel Todd

S. Collins. (ECF No. 480 (the “OTSC”)). The OTSC directed AAI and Collins to show cause by March

2, 2022 why they should not be held in contempt for failure to comply with the Court’s Fee Order,

and directed Defendants to then respond to AAI and Collins’ submission. (Id. at 3).

         On February 25, 2022, Defendants informed the Court that “Defendants have received

full payment of the Fee Award from Former Counsel [Collins].” (ECF No. 491). Yesterday, AAI

responded to the OTSC. (ECF No. 493 (the “Response”)). The Court deems the OTSC resolved by

AAI’s Response and Defendants’ statement that the Fee Award was paid; accordingly, all parties’

obligations under the OTSC are satisfied.

         The Clerk of Court is respectfully directed to close ECF No. 493.

                                                      SO ORDERED.

Dated:          New York, New York
                March 3, 2022
Case 1:04-cv-03531-LTS-SLC Document 495 Filed 03/03/22 Page 2 of 2




                                    _________________________
                                    SARAH L. CAVE
                                    United States Magistrate Judge




                                2
